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               I IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA




  UNITED STATES OF AMERICA,
                                          Criminal No.: 1: 22-cr-00354-RCL-1
                                                         and 2

                   -v-
                                            DEFENDANTS MOTION IN
                                              LIMINE TO PRECLUDE
    RICHARD SLAUGHTER, and                 GOVERNMENT STATEMENTS
        CADEN GOTTFRIED,                    OF MEDICAL INJURIES BY
                                          DEFENDANTS UNLESS TIMELY,
                                            CORROSPONDING, INJURY
                         Defendants.         REPORTS AND MEDICAL
                                                 RECORDS EXIST




DEFENDANTS MOTION IN LIMINE TO PRECLUDE GOVERNMENT
STATEMENTS OF MEDICAL INJURIES BY DEFENDANTS UNLESS
TIMELY, CORROSPONDING, INJURY REPORTS AND MEDICAL
RECORDS EXIST


COMES NOW Defendants Rick Slaughter and Caden Gottfried, by and through
undersigned counsel John Pierce, with this motion in limine to preclude any
statements, arguments, testimony, or evidence of police injuries unless
corresponding, timely, injury reports and medical records are provided in advance
through discovery.
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       Undersigned counsel has previously had Jan. 6 trials in which government
witnesses suddenly sprung unannounced claims of injuries. For example, in the
Kenneth Joseph Thomas trial before Judge Friedrich, a prosecution claimed he
suffered from “post traumatic syndrome disorder” (“PTSD”) due to Mr. Thomas
and January 6. That same witness had apparently never before claimed he suffered
from PTSD from the event.
       PTSD is a serious medical and mental health disorder, which disables an
officer and should generally mean the end of that officer’s career as a street cop.
Those with PTSD are a danger to both themselves and others.
      Moreover, all police training requires that officers must report all injuries as
soon as practically possible. This rule protects not only the officer, but the Police
Department and the municipality or public employer.
       Accordingly, Defendants move for an order precluding the government from
presenting police (or other) witnesses who claim to suffer medical harms or mental
injuries stemming from the defendants unless those witnesses previously
documented their injuries, as the law and policies require, and unless defense
counsel has been timely provided with all medical records and statements.
Dated: October 06, 2023
                                              Respectfully Submitted,
                                                                   /s/ John M. Pierce
                                                                       John M. Pierce
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                                                             Attorney for Defendants
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CERTIFICATE OF SERVICE


I, John M. Pierce, hereby certify that on this day, October 6, 2023, I caused a copy
of the foregoing document to be served on all counsel through the Court’s CM/ECF
case filing system.


/s/ John M. Pierce
John M. Pierce
